
By the Court.—Freedman, J.
The on which the defendants were ordered to appear and submit to an examination before trial and to make a discovery of their books and papers, claimed that such examination and discovery .were necessary to enable the plaintiff to amend his complaint. The test therefore is whether a necessity was shown for the purpose stated. The proof fails to establish such a necessity. From all that appears by the affidavits on both sides it is evident that the plaintiff has sufficient knowledge of the facts constituting his alleged cause of action and that his object is to obtain' information concerning an anticipated defence and to find out whether the cause of action cannot be extended to other parties.
The order should be reversed with ten dollars costs and disbursements.
Truax, J., concurred.
